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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
v.                                           §
                                             §            EP-20-CR-00389-DCG
PATRICK WOOD CRUSIUS,                        §
                                             §
              Defendant.                     §




       The Court GRANTS Defendant Patrick Wood Crusius's "Motion for Rearraignment"

(ECF No. 255). This matter is SET for a hearing on February 8, 2023 at 10:00 a.m. in

Courtroom Number 812 on the Eighth Floor of the United States Courthouse, 525 Magoffin

Avenue, El Paso, Texas.

       So ORDERED and SIGNED this 23rd day of January 2023.




                                              lb VII) '.(;UADERRAMA
                                              LNITEfl STATES DISTRICT JUDGE
